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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF RHODE ISLAND
__________________________________________
                                           )
DAVID SMITH,                               )
                                           )
                  Plaintiff,               )   Case No.: 1:22-cv-00329
      vs.                                  )
                                           )
BROWN UNIVERSITY,                          )
DAVIS CONSULTING GROUP, LLC, and           )
DONNA DAVIS, Individually                  )
                                           )
                  Defendants.              )
_______________________________________ )

                                 WITHDRAWAL OF APPEARANCE

          PLEASE TAKE NOTICE that Andrew S. Gallinaro hereby submits his withdrawal of

appearance as counsel of record for plaintiff David Smith in connection with the above-captioned

matter.

          I therefore respectfully request that my name and email address be removed from the

official docket and service list.


                                                   s/Andrew S. Gallinaro
                                                   Andrew S. Gallinaro, Esquire
                                                   Clark Hill PLC
                                                   Two Commerce Square
                                                   2001 Market Street, Suite 2620
                                                   Philadelphia, PA 19103
                                                   (215) 640-8500
                                                   agallinaro@clarkhill.com




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                                      CERTIFICATE OF SERVICE

        I, Andrew S. Gallinaro, hereby certify that on the date set forth below, I caused a true and

correct copy of the foregoing Withdrawal of Appearance to be electronically filed pursuant to the

Court’s electronic court filing system, and that the document is available for downloading and

viewing from the electronic court filing system.



Dated: August 9, 2023                              s/ Andrew S. Gallinaro
                                                   Andrew S. Gallinaro, Esquire




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